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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


     ELIZABETH SINES, SETH WISPELWEY,
     MARISSA BLAIR, APRIL MUNIZ, MARCUS
     MARTIN, NATALIE ROMERO, CHELSEA
     ALVARADO, THOMAS BAKER and JOHN
     DOE,
                                                           Civil Action No. 3: 17-cv-00072-NKM
                         Plaintiffs,
     v.

     JASON KESSLER, et al.,

                        Defendants.


          [PROPOSED] ORDER SEALING EXHIBITS TO PLAINTIFFS’ MOTION FOR
           DIRECT ACCESS TO CERTAIN DISCOVERY OF DEFENDANT KESSLER


           WHEREAS, on February 12, 2020, Plaintiffs filed a Motion for Direct Access to Certain

   Discovery of Defendant Kessler and did not publicly file supporting Exhibits Exhibits 3, 4, 5, 6,

   7, 8, 9, 10 and 11 in accordance with Plaintiffs’ position that these exhibits contain Confidential

   or Highly Confidential information pursuant to the Order for the Production of Documents and

   Exchange of Confidential Information entered on January 3, 2018 (ECF No. 167);

           WHEREAS, Plaintiffs have provided unredacted copies of these exhibits to the Court and

   moved, pursuant to Local Rule 9, for these exhibits to be sealed.

           IT IS HEREBY ORDERED that Exhibits 3, 4, 5, 6, 7, 8, 9, 10 and 11 to Plaintiffs’ Motion

   for Direct Access to Certain Discovery of Defendant Kessler be sealed pursuant to Local Rule 9.
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         Dated: _______________________

         SO ORDERED




                                          __________________________________
                                          Hon. Joel C. Hoppe, M.J.




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